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      DATED: August 16, 2021                      Respectfully submitted,
  1                                               KAPLAN MARINO, PC
  2

  3                                               _________/s/_____________
                                                  NINA MARINO
  4                                               CODY ELLIOTT
                                                  Attorneys for Third Party
  5
                                                  EVAN CARTER
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  1                       MEMORANDUM OF POINTS AND AUTHORITIES

  2      I.      INTRODUCTION

  3           Defendant is currently on trial facing various charges, including allegations that he

  4   embezzled millions of dollars in client funds. As part of his trial strategy, Defendant has vigorously

  5   attempted, but ultimately failed, to exclude expert testimony from John Drum, a vice president

  6   with Analysis Group and expert in complex financial accounting. To compensate for these failures,

  7   Defendant has now embarked on a fanciful fishing expedition by subpoenaing testimony and

  8   communication records from Evan Carter, a manager with Analysis Group who aided Mr. Drum
  9   in his preparation for testimony. (See Ex. A, Subpoena to Evan Carter; Marino Decl. ¶ 2.)
 10           Defendant first attempted to exclude Mr. Drum’s testimony via a Motion in Limine to
 11   Exclude Expert Testimony filed on September 14, 2020m, (Dkt. No. 285), which the Court denied,
 12   stating “Drum’s financial expertise will be helpful to the jury.” (Dkt. No. 371.)
 13           Defendant again attempted to have Mr. Drum’s testimony excluded, along with the Rule
 14   1006 summaries which would be relied upon during his testimony, by filing an Objection to the
 15   Testimony of Government Expert John Drum on July 19, 2021, (Dkt. No. 546), which the Court
 16   also denied. (August 10, 2021 Reporter’s Transcript at 18:25, United States v. Avenatti, SACR-
 17   19-00061-JVS.) Mr. Drum subsequently testified on August 12, 2021.
 18           Amidst his failed attempts to exclude the testimony of Mr. Drum, Defendant took the

 19   extraordinary step of subpoenaing Evan Carter - and her text messages and emails with the

 20   government in connection with this matter. (See Ex. A.) Ms. Carter accepted service on August

 21   12, 2021 through counsel. (Marino Decl. ¶ 1.) In response to inquiry regarding the relevance of

 22   Ms. Carter’s testimony and the requested documents, Mr. Avenatti stated that “something tells

 23   [him]” that Ms. Carter did a majority of the work with respect to the preparation of Mr. Drum’s

 24   testimony and related trial exhibits. (Marino Decl. ¶ 3.)

 25           Defendant has made no showing as to the relevancy or admissibility of the testimony of

 26   Evan Carter or the requested materials, nor can any relevancy or admissibility be inferred from the

 27   nature of the request. Ms. Carter is not an expert nor has she been designated as an expert witness

 28   in this matter. (See Dkt. No. 371.) Moreover, Ms. Carter is not a percipient witness. As such, her
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  1   testimony and communications sought by Defendant are patently irrelevant and inadmissible.

  2        II.       LEGAL STANDARD

  3               “A subpoena may order the witness to produce any books, papers, documents, data, or

  4   other objects the subpoena designates.” Fed. R. Crim. P. 17(c)(1). However, Rule 17 “was not

  5   intended to provide [a criminal defendant with] an additional means of discovery” and was not

  6   intended to be employed in “a fishing expedition to see what may turn up.” Bowman Dairy Co. v.

  7   United States, 341 U.S. 214, 220-21 (1951); see, e.g., United States v. Fowler, 932 F.2d 306, 311

  8   (4th Cir. 1991) (“Rule 17(c) . . . is not a discovery device.”) “[T]he court may quash or modify the
  9   subpoena if compliance would be unreasonable or oppressive.” Fed. R. Crim. P. 17(c)(2).
 10               Under the test articulated in United States v. Nixon, the moving party must show:
 11                      (1) that the documents are evidentiary and relevant; (2) that they are
                         not otherwise procurable reasonably in advance of trial by exercise
 12                      of due diligence; (3) that the party cannot properly prepare for trial
 13                      without such production and inspection in advance of trial and that
                         the failure to obtain such inspection may tend unreasonably to delay
 14                      the trial; and (4) that the application is made in good faith and is not
                         intended        as       a      general      ‘fishing      expedition.’
 15

 16   418 U.S. 683, 699-700 (1974). To overcome a motion to quash a subpoena, the moving party

 17   “must clear three hurdles: (1) relevancy; (2) admissibility; (3) specificity.” Id. at 700.

 18        III.      ARGUMENT

 19               Ms. Carter’s testimony and her communications with the government in this matter are

 20   both entirely irrelevant to Defendant’s case and clearly inadmissible as evidence. Anything that

 21   Defendant seeks from Ms. Carter would be more appropriately sought from Mr. Drum or the

 22   government. The fact that Defendant is seeking testimony and documents from a non-witness

 23   subordinate of Mr. Drum indicates an obvious fishing expedition, especially considering the fact

 24   that Defendant represented to Ms. Carter’s counsel that his subpoena is supported by nothing more

 25   than a hunch. (See Marino Decl. ¶ 3.)

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  1              A. Ms. Carter’s Testimony and Communications with the Government are
  2                 Inadmissible and Irrelevant
             For Defendant’s subpoena to be proper under Rule 17, he must show that the requested
  3
      testimony and documents are both admissible and sufficiently likely to be “relevant to the offenses
  4
      charged in the indictment.” Id. Ms. Carter’s testimony and communications with the government
  5
      are neither. First, Ms. Carter has no firsthand knowledge of Defendant’s conduct underlying the
  6
      criminal charges, and thus cannot act as a percipient witness. See Fed. R. Evid. § 602. Similarly,
  7
      her testimony is inadmissible because she is not an expert nor has she been designated as an expert
  8
      witness in this matter. See Fed. R. Evid. § 702.
  9
             Because she is not appropriately a fact or expert witness, Ms. Carter’s testimony and
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      communications with the government have no relevance to Defendant’s conduct as charged in the
 11
      indictment. The irrelevance is further compounded by the fact that Mr. Drum possesses the same
 12
      knowledge as Ms. Carter with respect to this matter, is a party to the same communications with
 13
      the government as Ms. Carter, and has already provided testimony at Defendant’s trial in this
 14
      matter. (See Marino Decl. ¶¶ 2, 5.) Any testimony from Ms. Carter would be cumulative and thus
 15
      irrelevant and inadmissible.
 16
             The fact that Defendant has failed to identify any grounds for relevance and admissibility
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      with respect to the testimony and communications sought indicates only one thing – he is
 18
      desperately fishing with nothing more than hope and a hunch to use as a hook. This is textbook
 19
      abuse of Rule 17.
 20

 21              B. The Information Sought from Ms. Carter is More Appropriately Sought from
                    Mr. Drum or the Government
 22
             Defendant’s subpoena seeks “[a]ll text messages and emails (with attachments) sent to any
 23
      government agent, employee, or Assistant U.S. Attorney in connection with the above referenced
 24
      case.” (See Ex. A.) However, Mr. Drum is included on every email that exists between Ms. Carter
 25
      and “government agent[s], employee[s], or Assistant U.S. Attorney[s]”. (Marino Decl. ¶ 5.)
 26
      Everything that Defendant seeks from Ms. Carter is more appropriately sought from Mr. Drum –
 27
      the actual expert witness testifying in the matter. Ms. Carter is not a witness in this matter, as she
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  1   is not an expert and has no personal knowledge of Defendant’s charged conduct. Ms. Carter is a

  2   mid-level associate who aided Mr. Drum in his capacity as a designated expert.

  3            Further, to the extent that Defendant believes the requested materials contain relevant

  4   information, for example, Brady evidence, such request should be directed to the government (who

  5   also happen to be a party to this matter and included on all communications sought from Ms.

  6   Carter). Ultimately, being a third party and non-expert, Ms. Carter is the least appropriate

  7   individual to subpoena the requested materials from.

  8               C. Compliance with Defendant’s Subpoena Would be Unduly Burdensome and
  9                  Oppressive
               Compliance with Defendant’s subpoena would place an undue burden on Ms. Carter. First,
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      it would require her to review the emails between her and the government and meticulously redact
 11
      each piece of personal identifying information, thus consuming her valuable time and resources.
 12
      Second, Ms. Carter lives, and is currently located, in Colorado. (Marino Decl. ¶ 6.) Compliance
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      with Defendant’s subpoena would require Ms. Carter to secure flight arrangements and travel
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      accommodations to travel across state lines, in the middle of a pandemic, for the sake of indulging
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      Defendant’s quixotic fishing endeavor. This burden is compounded by the aforementioned
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      irrelevance and inadmissibility of the communications and testimony sought in Defendant’s
 17
      subpoena, rendering the request an unabashed abuse of Rule 17.
 18
         IV.      CONCLUSION
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               For the foregoing reasons, Ms. Carter respectfully requests that this Court grant this Motion
 20
      to Quash Subpoena in a Criminal Case.
 21

 22   DATED: August 16, 2021                                 Respectfully submitted,
                                                             KAPLAN MARINO, PC
 23

 24
                                                             ___/s/____________
 25                                                          NINA MARINO
                                                             CODY ELLIOTT
 26                                                          Attorneys for Third Party
                                                             EVAN CARTER
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                                       CARTER MOTION TO QUASH SUBPOENA
